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 4   Attorney for Defendant, PRAVEEN SINGH
 5

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 7
                                  UNITED STATES DISTRICT COURT
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       No. 1:15-cr-00045- LJO/BAM (002)
11
                               Plaintiff,            STIPULATION TO SUBSITUTE
12                                                   UNSECURED BOND FOR PROPERTIES
            v.                                       PREVIOUSLY POSTED; ORDER
13
     PRAVEEN SINGH,
14
                              Defendant.
15

16

17

18          To The Honorable Magistrate Judge Barbara A. McAuliffe and the United States of

19   America by and through its representative Phillip A. Talbert, Acting U.S. Attorney and Patrick

20   Delahunty, Assistant United States Attorney.

21                                           BACKGROUND

22          On June 26, 2015, the defendant was released on conditions which included the posting of

23   a secured bond of $ 100,000, secured by real property. Document Number 29. On November 17,

24   2015, the collateral was received by the Court as to PRAVEEN SINGH, by way of an original

25   Deed of Trust posted by Kumar’s Investment, LLC, by Bijay Kumar, Deed Number 2015-

26   0082715-00. Document Number 93.

27          The owner of the posted property is now incurring financial hardship and has asked that

28   the encumbrance on his property be removed as he desires to refinance or sell the property.
                                                     1
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 1          Two other acquaintances of the defendant, Davinder S. Sandhu and Narender K. Sandhu,

 2   wife and office manager, both are willing to sign an unsecured bond of $ 100,000. They jointly

 3   have an annual income in excess of $ 200,000. Copies of their 2013 and 2014 U.S. Individual Tax

 4   Return have been provided to the United States Attorney.

 5          The Pretrial Services Officer has been consulted on this Stipulation and Proposed Order

 6   and has no objection thereto.

 7          THEREFORE, it is hereby stipulated that the Conditions of Release shall be modified to

 8   allow the posting of an Unsecured bond for $ 100,000 by Davinder S. Sandhu and Narender K.

 9   Sandhu and that upon the posting of said unsecured bond, that documents be prepared to

10   exonerate the deed of trust and return the property to its owner.

11

12   DATED: October 17, 2016                       FLETCHER & FOGDERUDE, INC.

13                                                  /s/ Eric K. Fogderude             .
                                                   ERIC K. FOGDERUDE
14
                                                   Attorney for Defendant, PRAVEEN SINGH
15

16   DATED: October 17, 2016                       U.S. ATTORNEY OFFICE
17                                                 /s/ Patrick Delahunty________________
                                                   PATRICK DELAHUNTY,
18                                                 Assistant United States Attorney
19
                                                  ORDER
20
            IT IS SO ORDERED. The stipulation to substitute an unsecured bond is APPROVED.
21
     Further, once the new unsecured bond is in place, the Court will exonerate the prior secured
22
     property bond. All other terms and conditions of Release shall remain in effect.
23

24
     IT IS SO ORDERED.
25
        Dated:     October 27, 2016                           /s/ Barbara A. McAuliffe              _
26
                                                        UNITED STATES MAGISTRATE JUDGE
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